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    8
                           UNITED STATES DISTRICT COURT
    9
                         SOUTHERN DISTRICT OF CALIFORNIA
   10

   11
        TANYA SUAREZ, Individually,          Case No. 20-cv-00456-WQH-DEB
   12
                                Plaintiff,
                                             MOTION FOR LEAVE TO FILE
   13
              v.                             THIRD AMENDED COMPLAINT
   14
        COUNTY OF SAN DIEGO,
   15   REGISTERED NURSE SHANNON Date:             August 15, 2022
        KEENE, Individually, AND DOES 1- Judge:    Hon. William Q. Hayes
   16   10, inclusive,
                                           NO ORAL ARGUMENT UNLESS
   17                          Defendants. REQUESTED BY THE COURT

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    1                                             I.
    2                                    INTRODUCTION
    3         Plaintiff Tanya Suarez (herein “Ms. Suarez” or “Plaintiff”), requests leave
    4   from this Court to add a Section 1983 claim and update various state law claims
    5   against existing defendant Watch Commander Charlise Wilson based on new
    6   evidence produced by Defendants. The new evidence is an IA report that was
    7   recently produced on May 23, 2022. During meet and confer efforts regarding the
    8   instant motion to amend, Defendants stipulated to adding Sergeant Terry Jackson as
    9   an individual defendant. (Exhibit 1.)
   10         However, County Counsel refused to stipulate to adding a Section 1983
   11   claim, and updating existing state law claims, against Watch Commander Wilson.
   12   Defendants contend Plaintiff was on notice—prior to production of the IA report—
   13   that Watch Commander Wilson was the supervisor in charge. Plaintiff agrees,
   14   which is why Watch Commander Wilson was named in the Second Amended
   15   Complaint (“SAC”) as a supervisory defendant. (SAC [Dkt. 37], ¶ 68.) However,
   16   Plaintiff contends the IA report revealed new facts that support additional
   17   allegations against Watch Commander Wilson.
   18         Accordingly, the question before this Court is whether Plaintiff can show
   19   good cause to add a Section 1983 claim against existing Defendant Watch
   20   Commander Wilson. (See, Exhibits 2 and 3, Proposed Amendment, Fifth Cause of
   21   Action, ¶¶ 151-165.) As detailed below, good cause exists to permit Plaintiff’s
   22   proposed amendment because Plaintiff was ignorant of facts supporting the
   23   proposed amendment until the County produced the IA report on May 23, 2022.
   24   Following production of the IA report, Plaintiff immediately reached out to County
   25   Counsel for a stipulation to amend the complaint. Once a partial stipulation was
   26   obtained from Defendants, Plaintiff timely filed the instant motion. As such,
   27   Plaintiff has been diligent and therefore respectfully requests this Court grant
   28   Plaintiff’s instant motion.
                                                   5
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    1                                             II.
    2         TIMELINE RELATING TO PRODUCTION OF THE IA REPORT
    3          The facts relevant to the proposed amendment concerning Watch
    4   Commander Wilson were not exposed until the deposition of Defendant Deputy
    5   Castner, which occurred on March 7, 2022. During the deposition, Deputy Castner
    6   testified that an IA investigation occurred relating to dishonesty of a deputy. When
    7   pressed further, Deputy Castner did not know any details other than an IA
    8   investigation occurred because someone removed content from the incident report
    9   relating to Deputy Crist’s suggestion that Ms. Suarez be retrained in the prostraint
   10   chair prior to her safety cell placement. Notably, had that occurred, Ms. Suarez
   11   would not have had any means to gouge out her eyes while being detained in the
   12   safety cell.
   13          Two weeks after Deputy Castner’s deposition, on March 22, 2022, Plaintiff
   14   served discovery on the county relating to the IA investigation referenced by
   15   Deputy Castner. Documents relating to the IA investigation were produced on May
   16   23, 2022. Included in the production was over a dozen witness interviews
   17   regarding Ms. Suarez’s incident which provided more detail than the incident
   18   reports that were produced early on in litigation. 1 The IA investigation revealed for
   19   the first time what supervisors rejected Deputy Crist’s suggestion to use prostraint
   20   chair: Watch Commander Wilson and Sergeant Jackson. Furthermore, the IA
   21   investigation sustained charges against Sergeant Jackson for dishonest conduct
   22   because he admitted to removing content from Deputy Crist’s reporting which
   23   detailed her suggestion to use the prostraint chair and the supervisors’ rejection.
   24   Sergeant Jackson stated he removed the content at the direct order of Watch
   25   Commander Wilson.
   26   ///
   27   1
         It is the deputies’ incident reports that document the details regarding a particular
        incident that occurred in jail. In this matter, the facts supporting the SAC were
   28   completely derived from the deputies’ incident reports and the surveillance footage.
                                                     6
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    1         Two days after receiving and reviewing the IA investigation, Plaintiff’s
    2   counsel conferred with County Counsel regarding a stipulation to add Sergeant
    3   Jackson as an individual defendant based on the newly discovered IA report. On
    4   June 2, 2022, County Counsel advised that it may be agreeable to a stipulation;
    5   however, County Counsel wanted to see the proposed amended complaint. On June
    6   14, 2022, Plaintiff’s counsel provided the proposed amended complaint to County
    7   Counsel. Two weeks later, on June 23, 2022, County Counsel agreed to a
    8   stipulation as to Sergeant Jackson, but could not stipulate to adding a claim against
    9   Watch Commander Wilson. The instant motion followed within 10 business days.2
   10                                             III.
   11                      FACTS REVEALED BY THE IA REPORT
   12         The IA report revealed that immediately following Ms. Suarez’s transport to
   13   the hospital, involved deputies were required to write incident reports prior to
   14   ending their shift. Deputy Crist was tasked with drafting the incident report relating
   15   to Ms. Suarez’s first attempt to gouge out her eyes and the follow-on safety cell
   16   placement. In drafting the incident report, Deputy Crist wrote:
   17         As I was standing by the medical evaluation, I briefed the supervisors
   18         on scene of the incident. I explained Suarez had just finished her
              fingerprints when she attempted to gouge her eyes out using her
   19         fingernails. I explained Suarez bit Deputy Chavez while we were trying
              to restrain her. I suggested to supervisors on scene the option of utilizing
   20         the Prostraint chair to prevent Suarez from further harming herself or
              possibly having to use force to stop her in the future. It was explained
   21
              to me that due to Suarez being calm and not actively trying to harm
   22         herself that the Prostraint chair would not be utilized at that time.
   23         As is customary, Deputy Crist submitted her report to Sergeant Jackson.

   24   Sergeant Jackson reviewed the report for grammatical errors and approved the

   25   report. Sergeant Jackson then uploaded the report to NetRMS, the report database.

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         Plaintiff contends the efforts described above establish Plaintiff’s diligence in
   27   discovery as well as diligence in filing the instant motion. However, ideally this
        motion would have been filed soon after June 23, 2022, but Plaintiff’s counsel was
   28   ill the last week of June 2022.
                                                    7
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    1   Sometime later that night, Defendant Watch Commander Wilson held a meeting
    2   with Sergeant Jackson wherein Defendant Watch Commander Wilson directly
    3   ordered Sergeant Jackson to remove the highlighted content from Deputy Crist’s
    4   incident report. During the IA investigation, Sergeant Jackson stated Watch
    5   Commander Wilson gave him a “direct order” to remove the prostraint comment
    6   from Deputy Crist’s report.
    7         Two days after the incident, the involved deputies and supervisors gathered
    8   for a debriefing by Captain Marsden relating to Ms. Suarez. During the Captain’s
    9   debriefing, Deputy Crist stood up and told the group that she had just reviewed her
   10   incident report and noticed the report had been substantively altered. An internal
   11   investigation followed—actually, two investigations occurred. A CRIB
   12   investigation regarding Ms. Suarez’s foreseeable self-harm and the failure to
   13   prevent it. And, an IA investigation ensued regarding the misconduct by Sergeant
   14   Jackson and Watch Commander Wilson.
   15         The CRIB investigation into the incident itself happened first. Detective
   16   Blanco was the investigator assigned to the matter. On the night of the incident,
   17   Detective Blanco responded to the hospital for a full debriefing. She then spent the
   18   next two days reviewing every related incident report and all related surveillance
   19   footage. On May 9, 2019, Detective Blanco interviewed Defendant Watch
   20   Commander Wilson and asked her why she directed Sergeant Jackson to remove
   21   the content. Defendant Watch Commander Wilson admitted that she directed
   22   Sergeant Jackson to remove reference to the prostraint chair because she was
   23   “fearful of getting into trouble because she was on probation and her entire
   24   team was talking poorly about her decision [not to place Ms. Suarez in the
   25   prostraint chair.”
   26         However, when Defendant Watch Commander Wilson, who was the most
   27   senior official involved in the incident, was tasked with giving a presentation to the
   28   CRIB board members, Defendant Watch Commander Wilson changed her story
                                             8
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    1   entirely. Shockingly, Defendant Watch Commander Wilson said she directed
    2   Sergeant Jackson to remove the content because it was not relevant to the incident.
    3   Even more shockingly, Defendant Watch Commander Wilson boldly claimed that
    4   she had no idea Ms. Suarez tried to gouge out her eyes and thought she responded
    5   to a use of force incident regarding the bite to Deputy Chavez. Accordingly,
    6   Defendant Watch Commander Wilson stated because the incident report was
    7   “assumed” to be about the bite to Deputy Chavez, she had Sergeant Jackson remove
    8   reference to the prostraint chair because it was not relevant to the bite.3
    9         This is a boldface lie. As Detective Blanco pointed out to the IA
   10   investigator, Defendant Watch Commander Wilson knew Ms. Suarez tried to gouge
   11   out her eyes when she rejected use of the prostraint chair because surveillance
   12   footage shows that Wilson responded to the original scene seconds after Ms. Suarez
   13   tried to remove her eyes. Defendant Watch Commander Wilson can be seen in the
   14   surveillance footage standing by for approximately ten minutes while Ms. Suarez
   15   was restrained to the gurney, evaluated by the suicide gatekeeper, and by the
   16   medical nurse for potential damage done to Ms. Suarez’s eyeball. Moreover,
   17   according to Deputy Crist’s report, and the surveillance footage, Deputy Crist
   18   advised “the supervisors on scene”—aka Watch Commander Wilson—that Ms.
   19   Suarez tried to “remove her eyes,” hence why she then suggested use of the
   20   prostraint chair.
   21   ///
   22   ///
   23   ///
   24   ///
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        3
         In this version of events, Watch Commander Wilson is still deliberately indifferent
   26   because she claims she learned Ms. Suarez tried to gouge out her eyes when the
        deputies were in the process of removing Ms. Suarez from the gurney, prior to
   27   being placed in the safety cell. Even under these facts, Watch Commander Wilson
        knew, prior to placing Ms. Suarez unrestrained in the safety cell, Ms. Suarez posed
   28   a specific risk of gouging out her eyes in the safety cell if not restrained.
                                                    9
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    1          Ultimately, dishonestly charges were sustained against Sergeant Jackson but
    2   not against Watch Commander Wilson due to her inconsistent statements and
    3   change in story. Unfortunately, there was no additional investigation into Watch
    4   Commander Wilson’s lies and inconsistencies. To state it bluntly, Watch
    5   Commander Wilson got away with it and threw Sergeant Jackson under the bus.
    6         Based on the facts revealed by the IA report, it is clear for the first time in
    7   this case, that the “supervisors on scene” Deputy Crist referenced in her incident
    8   report as the ones she advised about Ms. Suarez’s self-harming behavior and the
    9   suggestion to restrain her in the prostraint chair was Sergeant Jackson and Watch
   10   Commander Wilson. Prior to the IA report, Plaintiff was unaware of what
   11   “supervisors” rejected use of the prostraint chair. See Exhibit 4, Crist’s Incident
   12   Report, which does not identify by name the supervisor(s) that rejected use of the
   13   Prostraint chair.
   14         Accordingly, Plaintiff moves this Court to add claims against Sergeant
   15   Jackson (stipulated to by Defendants) and Watch Commander Wilson for being the
   16   supervisors directly involved in the incident who were notified of the specific
   17   danger Ms. Suarez posed to herself and failed to take reasonable measures to
   18   prevent it, despite Deputy’s Crist’s suggestion to use the prostraint chair.
   19   Furthermore, due to their direct involvement and knowledge of Defendant
   20   Deputies’ misconduct in cutting Ms. Suarez’s acrylic nails, removing the handcuffs,
   21   failing to elevate the matter with a psychiatrist/hospital, failing to restrain Ms.
   22   Suarez while in the safety cell, and failing to intervene when Deputy Castner saw
   23   the first eyeball fall to the floor, Watch Commander Wilson ratified her
   24   subordinates’ misconduct, and/or failed to direct her subordinates to act reasonably.
   25   (See Exhibits 2 and 3, proposed TAC, ¶¶ 152-160.)
   26   ///
   27   ///
   28   ///
                                                    10
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    1                                            IV.
    2                                 STANDARD OF LAW
    3         When a party seeks to amend a pleading after the deadline in the applicable
    4   case management order has passed, the request implicates both Federal Rule of
    5   Civil Procedure 15 and 16. Rule 16(b) governs the issuance and modification of
    6   pretrial scheduling orders while Rule 15(a) governs amendment of pleadings. Fed.
    7   R. Civ. P. 16(b) and 15(a). The Federal Rules of Civil Procedure, Rule 16(b)’s
    8   good-cause standard should be applied first, to modify the scheduling order, then
    9   the "when justice so requires" standard of Rule 15(a) is applied. Johnson v.
   10   Mammoth Recreations, Inc., 975 F.2d 604, 608-09 (9th Cir. 1992). Good cause
   11   may be demonstrated by a change in circumstance or newly discovered facts. See
   12   Fru-Con Constr. Corp. v. Sacramento Mun. Util. Dist., 2006 U.S. Dist. LEXIS
   13   94421 (E.D. Cal. Dec. 15, 2006) (allowing amendment under Rule 16(b) when the
   14   amendment was prompted by new evidence obtained through discovery); Macias v.
   15   City of Clovis, 2016 U.S. Dist. LEXIS 38964, *7.
   16                                             V.
   17     GOOD CAUSE EXISTS TO MODIFY THE SCHEDULING ORDER FOR
   18                THE PURPOSE OF AMENDING THE COMPLAINT
   19         Under Rule 16(b), “a finding of diligence is proper when the moving party
   20   obtains new evidence through the discovery process and promptly moves to amend
   21   the pleading.” See, e.g., Fru-Con Const. Corp. v. Sacramento Mun. Util. Dist.,
   22   2006 U.S. Dist. LEXIS 94421, at *4 (E.D. Cal. 2006) (“Allowing parties to amend
   23   [under Rule 16] based on information obtained through discovery is common and
   24   well established.”) Also See Hood v. Hartford Life and Acc. Ins. Co., 567 F. Supp.
   25   2d 1221, 1225-26 (E.D. Cal. 2008)(granting a motion to modify the scheduling
   26   order after a deposition revealed new information.) But “carelessness is not
   27   compatible with a finding of diligence and offers no reason for a grant of relief.”
   28   See Johnson v. Mammoth Recreations, 975 F.2d at 609 (9th Cir. 1992) (holding that
                                              11
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    1   plaintiff's failure timely to review evidence produced earlier in discovery did not
    2   establish good cause.)
    3         A.     Plaintiff was Diligent in Discovery and Diligent in Filing the
    4                Instant Motion
    5         When a party requests changes to the scheduling order, the Court's inquiry
    6   focuses on that party's diligence. See, Johnson v. Mammoth Recreations, Inc., 975
    7   F.2d at 609. The district court may modify the pretrial schedule “if it cannot
    8   reasonably be met despite the diligence of the party seeking the extension.” Fed. R.
    9   Civ. P. 16 advisory committee's notes (1983 amendment); Harrison Beverage Co.
   10   v. Dribeck Importers, Inc., 133 F.R.D. 463, 469 (D.N.J. 1990); Amcast Indus. Corp.
   11   v. Detrex Corp., 132 F.R.D. 213, 217 (N.D. Ind. 1990); Forstmann v. Culp, 114
   12   F.R.D. 83, 85 (M.D.N.C. 1987); 6A Wright, Miller & Kane, Federal Practice and
   13   Procedure § 1522.1 at 231 (2d ed. 1990) (“good cause” means scheduling deadlines
   14   cannot be met despite party's diligence). The Ninth Circuit precedent states that,
   15   “[i]f that party was not diligent, the inquiry should end.” Id. Prejudice to another
   16   party may reinforce the court's decision to deny leave to amend. Id.
   17         Here, there can be no dispute that Plaintiff was diligent in serving discovery
   18   following the ENE and in setting the Deposition of Deputy Castner. Notably,
   19   Deputy Castner was the first Defendant/percipient witness deposed in this matter.
   20   It was during her deposition that Plaintiff first learned there was an IA investigation
   21   related to Ms. Suarez’s incident. Plaintiff drafted follow-on discovery and served
   22   Defendants with a Request for Production on March 22, 2022. Documents relating
   23   to the IA investigation were produced on May 23, 2022. Two days after receipt of
   24   the IA investigation, Plaintiff’s counsel conferred with County Counsel regarding a
   25   stipulation to amend the complaint based on the newly discovered IA report.
   26         On June 2, 2022, County Counsel advised that it may be agreeable to a
   27   stipulation; however, County Counsel wanted to see the proposed amended
   28   complaint. On June 14, 2022, Plaintiff’s counsel provided the proposed amended
                                                 12
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    1   complaint to County Counsel. Two weeks later, on June 23, 2022, County Counsel
    2   agreed to a stipulation as to Jackson, but could not stipulate to adding Watch
    3   Commander Wilson to the supervisory claim. The parties met and conferred further
    4   but were unable to come to a resolution. The instant motion followed within 10
    5   business days.4
    6          Furthermore, based on Defendants’ stipulation regarding the addition of
    7   Sergeant Jackson, Plaintiff should be afforded the inference that she was diligent in
    8   discovery and in filing the instant motion. Similarly, Defendants’ stipulation as to
    9   Sergeant Jackson speaks to the lack of prejudice Defendants will face by the
   10   proposed amendment relating to Watch Commander Wilson.
   11          Importantly, Plaintiff contends she has previously alleged a general
   12   supervisory claim against Watch Commander Wilson, via paragraph 68 in the SAC.
   13   At the time of the SAC, discovery revealed that Wilson was the supervisor in
   14   charge and was aware of, and ratified, the conduct of Defendant deputies. (SAC, ¶
   15   68.)
   16          However, at that time of filing the SAC, Plaintiff was ignorant that Wilson
   17   was the actual supervisor that rejected Deputy Crist’s suggestion to use the
   18   prostraint chair. The fact that Wilson was the supervisor that rejected use of the
   19   prostraint chair was not discoverable until production of the IA report. As detailed
   20   above, within two days of production of the IA report, Plaintiff reviewed the
   21   documents and meet and conferred with County Counsel regarding a stipulation.
   22   The instant motion was filed within 10 business days after coming to a partial
   23   stipulation with Defendants.
   24   ///
   25   ///
   26
        4
         Plaintiff contends the efforts described above establish Plaintiff’s diligence in
   27   discovery as well as diligence in filing the instant motion. However, ideally this
        motion would have been filed soon after June 23, 2022, but Plaintiff’s counsel was
   28   ill the last week of June 2022.
                                                    13
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    1                i.    The “Good Cause” Three-Part Test Weighs in Plaintiff’s
    2                      Favor
    3         On occasion, “courts have applied a more detailed three-part test: a movant
    4   may establish good cause by showing (1) it diligently assisted with creation of the
    5   Rule 16 order, (2) circumstances beyond its control and anticipation prevented
    6   compliance with the order, and (3) after it became apparent a new schedule was
    7   needed, the party promptly sought relief.” Jackson v. Laureate, Inc., 186 F.R.D.
    8   605, 608 (E.D. Cal. 1999).
    9         In this matter, Plaintiff and Defendants worked together to diligently create
   10   the Joint Discovery Plan. (See Dkt. 23.) As detailed above, Plaintiff could not
   11   comply with the Court imposed deadline to amend—July 28, 2021—because the IA
   12   report was not produced until May 23, 2022. Plaintiff timely reviewed the
   13   documents and conferred with Defendants regarding a stipulation within two days
   14   of receiving the IA report. The instant motion was filed 10 business days after the
   15   parties came to a partial stipulation. Accordingly, Plaintiff has established good
   16   cause to add the proposed factual allegations against Watch Commander Wilson
   17   based on new evidence.
   18                                            VI.
   19      JUSTICE REQUIRES LEAVE BE GRANTED BECAUSE ALL FOMAN
   20                     FACTORS WEIGH IN PLAINTIFF’S FAVOR
   21         Under the federal scheme of Rule 15, there are several factors a court may
   22   consider in deciding whether to grant leave to amend a complaint: (1) whether the
   23   plaintiff has previously amended the compliant, (2) undue delay, (3) bad faith, (4)
   24   futility of amendment, and (5) prejudice to the opposing party. Foman v. Davis,
   25   371 U.S. 178, 182, 83 S. Ct. 227, 9 L. Ed. 2d 222 (1962); Loehr v. Ventura County
   26   Cmty. Coll. Dist., 743 F.2d 1310, 1319 (9th Cir. 1984).
   27   ///
   28   ///
                                                  14
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    1         A.     Prior Amendments
    2         Plaintiff has amended the complaint twice: once prior to discovery and again
    3   after receiving the incident reports and surveillance footage. However, the
    4   information that is the basis of this motion was not available to Ms. Suarez until
    5   May 23, 2022. As such, this factor weighs in favor of granting Plaintiff’s
    6   amendment.
    7         B.     Undue Delay
    8         As detailed above, Plaintiff was diligent in pursuing discovery and deposing
    9   Deputy Castner. Plaintiff was also diligent in requesting IA related discovery and
   10   reviewing the discovery when produced on May 23, 2022. Within two days of
   11   production, the parties began to meet and confer. Ultimately the parties agreed to a
   12   partial stipulation on June 23, 2022. The instant motion was filed within 10
   13   business days. As such, this factor too weighs in favor of granting Plaintiff’s
   14   amendment.
   15         C.     Bad Faith
   16         There is no evidence that Plaintiff is acting in bad faith by seeking to add
   17   factual allegations that were discovered in a recently produced IA report. Notably,
   18   Plaintiff is not acting in bad faith. As such, this factor weighs in favor of granting
   19   Plaintiff’s amendment.
   20         D.     Futility of the Amendment
   21         “Futility of amendment can, by itself, justify the denial of a motion for leave
   22   to amend.” Bonin v. Calderon, 59 F.3d 815, 845 (1995). To determine whether the
   23   proposed amendment is futile, the Court should evaluate whether the facts alleged
   24   would be sufficient to withstand a motion to dismiss pursuant to Rule 12(b)(6). See
   25   Townsend v. University of Alaska, 543 F.3d 478, 486 n.6 (9th Cir. 2008) (noting
   26   that the “basis for futility is more accurately characterized as a failure to state a
   27   claim for relief”).
   28   ///
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    1         Here, the proposed amendment against Watch Commander Wilson (and
    2   Sergeant Jackson) is not futile because it answers the fundamental question: Who
    3   refused to place Ms. Suarez in the prostraint chair? Watch Commander Wilson’s
    4   refusal to restrain Ms. Suarez inside the safety cell, while knowing she had just
    5   attempted to gouge out her eyes and was screaming while restrained on the gurney,
    6   was unreasonable and deliberately indifferent to Ms. Suarez’s medical needs. The
    7   supervisory portion of the claim, aka knowing Ms. Suarez was intent on removing
    8   her eyes but failing to direct her subordinates to intervene, is also meritorious
    9   because the IA investigation revealed Watch Commander Wilson was on scene
   10   during the entire encounter and was witnessing her subordinates ignore Ms.
   11   Suarez’s obvious need to be restrained in a way that would prevent her from doing
   12   more harm to her eyes. These allegations could reasonably amount to deliberate
   13   indifference.
   14                                            VII.
   15             THERE IS NO PREJUDICE TO THE OPPOSING PARTY
   16         Generally, the most critical factor in determining whether to grant leave to
   17   amend is prejudice to the opposing party. Eminence Capital, LLC v. Aspeon, 316
   18   F.3d at 1052 (2003) (“Prejudice is the touchstone of the inquiry under rule 15 (a)”)
   19   The burden of showing prejudice is on the party opposing an amendment to the
   20   complaint. Beeck v. Aquaslide ‘N’ Dive Corp., 562 F.2d 537, 540 (9th Cir. 1977).
   21   Prejudice must be substantial to justify denial of leave to amend. Morongo Band of
   22   Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990). Under Rule 15(a),
   23   there is a presumption in favor of granting leave to amend where prejudice is not
   24   shown. Eminence Capital, LLC v. Aspeon, 316 F.3d at 1052 (2003).
   25         First and foremost, the County will not be prejudiced by Plaintiff’s proposed
   26   amendment because Watch Commander Wilson is an existing Defendant and
   27   because the County knew that an IA investigation revealed new facts relating to
   28   Wilson’s conduct. As such the County is not caught off guard by the proposed
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    1   amendment. Furthermore, because this Court recently granted the parties request to
    2   continue discovery-related deadlines, Defendants will not suffer any undue
    3   hardship. Furthermore, discovery is ongoing, and experts have yet to be named.
    4   Watch Commander Wilson has not yet been deposed, so inclusion of additional
    5   allegations will not prejudice any party.
    6                                               VII.
    7                                      CONCLUSION
    8         For the reasons detailed above, Plaintiff was diligent in their discovery of the
    9   IA report and in filing the instant motion. The county will not be prejudiced by
   10   granting the proposed amendment because experts have not been designated and
   11   because the deposition of Watch Commander Wilson has yet to occur. Given the
   12   liberal standard set forth in Rule 15 (a), coupled with Plaintiff’s diligence in
   13   seeking discovery and timely filing this motion, Plaintiff’s motion should be
   14   granted.
   15
                                                Respectfully submitted,
   16
                                                PHG Law Group
   17

   18
        Dated: July 8, 2022                     by:   s/ Danielle R. Pena
   19                                           Danielle R. Pena, Esq.
                                                dpena@phglawgroup.com
   20                                           Attorneys for Plaintiff Tanya Suarez
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